                 THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                CRIMINAL CASE NO. 1:13-cr-00043-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
                   vs.           )                   ORDER
                                 )
(2) KELLY HIGGINS;               )
(4) ALBERT TOMES;                )
(5) TINA TOMES;                  )
(6) KEVIN VICKERS;               )
(7) LORI WATTS;                  )
(8) TY YOUNG; and                )
(9) JENNIFER STRUBELL.           )
________________________________ )

      THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment as to the Named Defendants [Doc. 145].

      For the reasons stated in the Government’s motion, and for cause

shown,

      IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

145] is GRANTED, and the Bill of Indictment is hereby DISMISSED

WITHOUT PREJUDICE with respect to Defendants Kelly Higgins, Albert

Tomes, Tina Tomes, Kevin Vickers, Lori Watts, Ty Young, and Jennifer

Strubell.                      Signed: May 7, 2014


      IT IS SO ORDERED.




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